                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



UNITED STATES OF AMERICA,
                                             )
V.                                           )      CASENO. I:17cr270

AHMED AMEER MINNI, et al

               Defendant



                                            ORDER


               The Court has received correspondence from counsel for all defendants requesting

a status conference to discuss a letter received by the mother of one of the defendants the

contents of which are worrisome as they relate to the health and well-being of the defendants.

               For that reason, it is accordingly

               ORDERED that the Government, on or before Januar>' 26, 202! contact the Unit

Chief for the American Consular Services who spoke to the defendants on January 6, 2021. and

apprise that individual of the content of the above-referenced letter, speciilcally requesting

current information regarding the health of the defendants. The Government is directed to report

back to the Court on or before February 4, 2021. After a review of the Government's report the

Court will schedule a status conference.


               It is so ORDERED.




                                              Liam O'Grady       ^)
                                              United States District Judge
Alexandria, Virginia
January 22, 2021
